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                                                                             2006 May-16 PM 01:08
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHEASTERN DIVISION



DOYLE LEE HAMM,

           Petitioner,
                                        I
VS   .                                  )
                                        )
RICHARD ALLEN,                          )
                                        )
          Commissioner, Alabama         )
          Department of                 )
          Corrections,                  1
                                        1
           Respondent.                  )




                    PETITION FOR WRIT OF HABEAS CORPUS
            BY PRISONER IN STATE CUSTODY UNDER DEATH SENTENCE




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHEASTERN DIVISION



DOYLE LEE HAMM,

       Petitioner,



RICHARD ALLEN,

       Commissioner, Alabama
       Department of
       Corrections

       Respondent


                     PETITION FOR WRIT OF HABEAS CORPUS
             BY PRISONER IN STATE CUSTODY UNDER DEATH SENTENCE



       Doyle Lee Hamm, now incarcerated on death row at Donaldson

Correctional Facility in Bessemer, Alabama, respectfully petitions

this    Court     for   relief   from   his   unconstitutionally    obtained

conviction of capital murder and sentence of death pursuant to 28

U.S.C. S2254.



I.      INTRODUCTION

        1.     This   case   involves   a   late-night robbery     and   fatal

shooting of a night desk clerk (Patrick Cunningham) at a road-side

motel    in Cullman, Alabama. The robbery-murder occurred almost

twenty years ago, in the late evening of Saturday, January 24,
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1987. Three suspects were arrested: Regina Roden, ~ouglas~ o d e n ,

and petitioner, Doyle Lee Hamm.

      2.   The prosecutor argued that Regina Roden was the get-away

driver. The only impartial witness who saw individuals in the motel

lobby immediately prior to the robbery-murder was Kathryn Teresa

Flanagan, and she could only identify a woman and Douglas Roden.

Douglas Roden turned state's witness and testified that Doyle Hamm

was the person who pulled the trigger; Regina Roden also turned

state's witness and testified again Mr. Hamm. Other than the

testimony of Douglas and Regina Roden and an unconstitutionally

obtained, coerced confession of Doyle Hamm, there was no direct,

independent evidence as to who pulled the trigger.

      3.   Douglas Roden, the evidence in post-conviction reveals,

was   diagnosed   as   having   borderline    and   possibly   antisocial

personality, suffered from serious alcohol and drug addiction, had

a long history of drug and alcohol abuse including IV drugs, and

was kicked out of drug treatment at Bryce Hospital (while he was

being evaluated on this arrest) for illicitly using illegal drugs

and lying to his counselors. None of this exculpatory information

was turned over to Mr. Hamm's counsel at trial and, as a result,

none of this evidence was used to impeach the prosecutor's chief

witness and self-confessed accomplice.

      4.   To compound the error, the trial court failed to instruct

the jury in this robbery-murder case on the lesser-included offense

of robbery-murder. The court acknowledged that there was evidence
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of voluntary intoxication and instructed the jury on voluntary

intoxication, but failed to give the jury an instruction on felony-

murder.

     5.   At   his   capital   sentencing hearing, Doyle        Hamm     was

sentenced to death in part based on two prior convictions for

robbery that allegedly occurred on another Saturday evening, ten

years earlier, on September 17, 1977, in T e ~ e s s e e .Those two prior

convictions were unconstitutionally obtained          for a number of

compelling reasons, and should not have been considered by the

sentencing judge.

     6.    At his trial and sentencing, Mr. Hamm was represented by

an appointed attorney who, on the third day of the guilt-phase of

the trial on September 24, 1987, was appointed Special          Assistant

to the Attorney General, and was therefore made part of the same

law off ice as the prosecution team, which included Assistant

Attorney General Tom Sorrells of the Alabama Attorney General's

Office.   Appointed counsel suffered from a conflict of interest

that denied Mr. Hamm his right to counsel.

     7.    Moreover, trial counsel failed to investigate and to

present mitigating evidence at        the penalty phase, especially

evidence of Mr. Hamm's mental health impairments, education, family

upbringing, and medical problems, as well as at the guilt-phase.

Trial counsel only called two witnesses at the sentencing hearing,

Mr. ~amm'ssister and a deputy sheriff (the latter gave one-page

testimony). Counsel failed to investigate and discover a wealth of
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documents and testimonial evidence that could have been presented

at the sentencing.      This documentary evidence includes lengthy

criminal records of his family members, his school records, his

medical and mental health records.      Possible testimonial evidence

included the testimony of a social worker, of a psychologist, and

psychiatrist to document Mr. Hamm's mental health issues.

     8.    In the state post-conviction proceedings, the state court

prohibited Mr. Hamm's pro bono attorney, Bernard Harcourt, to

represent him at the Rule 32 hearing. Over Mr. Hammls repeated

protests and Mr. Harcourt's repeated objections, the state post-

conviction     court   excluded   Mr.   Harcourt   from   the   Rule     32

proceedings.

     9.    In addition, the state post-conviction court completely

abdicated its role as impartial decision-maker. The state court

simply signed the Alabama Attorney General's proposed memorandum

opinion without even changing the caption of the order. Still

today, the state court's order in this case reads: "PROPOSED

MEMORANDUM OPINION."      The state court made no specific findings

that the Attorney General's conclusions were his own. The order is

repeatedly date stamped "Dec 3 1999" - the day that the Attorney

General filed the proposed order - AND "Dec 6 1999" - the day that

Judge Hardeman signed the "Proposed Memorandum Opinion" without

even changing the caption.

     10.   Numerous other constitutional flaws infected Mr. Hamm's

trial, appeal, and state post-conviction proceedings.           For these
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and the other reasons pled in this petition, the capital murder

conviction and sentence of death in this robbery-murder case were

unconstitutionally obtained.      The state court adjudication of these
claims resulted in a decision that was contrary to, and involved an

unreasonable application of, clearly established United States

Supreme Court precedent. Pursuant to 28 U.S.C. S2254, this court

should grant Mr. Hamm's habeas corpus petition and return the case

to state court for a new trial and sentencing.



11.   PROCEDURAL HISTORY

      11.   On September 26, 1987, Doyle Hamm was convicted of the

capital offense of murder during a robbery under           §   13A-5-40 (a)

(2), Code of Alabama       (1975), in the Circuit Court of Cullman

County, Judge Fred Folsom presiding.

      12. On September 28, 1987, a sentencing hearing was conducted

and the jury returned an advisory verdict in favor of death by a

vote of 11 to 1.

      13. Judge Folsom held a pre-sentence hearing on November 9,

1987, and sentenced Doyle Hamm to death in the electric chair on

December 1, 1987.

      14. The Court of Criminal Appeals of Alabama affirmed the

conviction and sentence on June 16, 1989.         Hamm v. State, 564 So.

2d 453 (Ala. Cr. App. 1989) .       That decision was affirmed by the

Supreme Court of Alabama on March 23, 1990. Ex parte Hamm, 564 So.

2d 469 (Ala. 1990) .
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     15.   The United States Supreme Court denied Doyle Hamm's

petition for writ of certiorari to the Alabama Supreme Court on

December 3 , 1990.   Hamm v. Alabama, 112 L.Ed. 2d 579 (1990).

     16.   In December 1990, Mr. Hamm obtained new counsel, Bernard

E. Harcourt, to represent him in a state post-conviction challenge

to his conviction and sentence of death.

     17. Mr. Harcourt      filed a Rule      32   state post-conviction

petition on behalf of Mr. Hamm on December 3, 1991.

     18. Mr. Hamm's Rule 32 petition was initially assigned to

Judge Folsom of the Cullman County Circuit Court. Judge Folsom

conducted a pre-trial hearing in the case on July 10, 1992, and set

the case for another hearing on March 6, 1995, but retired shortly

before that scheduled hearing.

     19. Mr. Hamm's Rule 32 petition was transferred to Judge Don

Hardeman of the Cullman Circuit Court, and Judge Hardeman held pre-

trial hearings on March 6, 1995 and January 8, 1996.

     20.   During this period, Mr. Hamm, through his attorney, Mr.

Bernard Harcourt, also challenged two prior convictions from the

State of Tennessee that were used as aggravating circumstances at

his Alabama death penalty sentencing hearing.          Mr. Hamm filed a

state post-conviction petition in Lawrence County, Tennessee,

challenging these prior convictions on August 10, 1992.                  That

petition was denied by the Tennessee circuit court.           On February

12, 1997, the Tennessee Court of Criminal Appeals affirmed the
denial of relief. On March 14, 1997, Mr. Hamm filed an Application
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for P e r m i s s i o n t o Appeal with the Tennessee Supreme Court, which

was denied on June 2, 1997. On June 16, 1998, Mr. Harcourt filed a

P e t i t i o n f o r W r i t of Habeas Corpus on behalf of Doyle Hamm in the

United States District Court for the Middle District of Tennessee,

Columbia Division.       The petition was dismissed by the Federal

District Court, and the Sixth Circuit Court of Appeals denied Mr.

Hamm a certificate of appealability on March 17, 1999.

     21.    Meanwhile, back in Alabama, in March 1998, Judge Hardeman

set Mr. Hamm's Rule 32 petition for final hearing on June 29, 1998.

Counsel for Mr. Hamm, Bernard Harcourt, had a conflict on that date

and requested a continuance of the hearing date.

     22.    On May 1, 1998, Judge Hardeman prohibited Mr. Harcourt

from further representing Mr. Hamm.           Judge Hardeman entered an

order stating that "you [Mr. Harcourt] are hereby withdrawn as

counsel for Doyle Lee Hamm in the above case.              The Court will

appoint new counsel for Mr. Hamm and you are immediately relieved

of any further action in this matter." The court appointed a local

attorney, Pam Nail, to represent Mr. Hamm.

      23.   In response to the court's action, Mr. Harcourt requested

by letter that he be allowed to represent Mr. Hamm as co-counsel.

Judge Hardeman did not respond to this letter.              Instead, Judge

Hardeman set the case for hearing on December 11, 1998, and did not

notify Mr. Harcourt.
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24.   Pam Nail   filed a motion for continuance of the hearing

scheduled for December 11, 1998, and the Rule 32 hearing was

continued three times.
      25.   On March 24, 1999, Mr. Harcourt filed a motion with the

court to be notified about the hearing date.          Mr. Harcourt then

filed another motion to be notified of the court proceedings on

April 7, 1999.

      26,   On April     14, 1999, Judge Hardeman entered an order

denying Mr. Harcourt's motions to be notified or reappointed.             In

the order, Judge Hardeman threatened Mr. Harcourt with contempt of

court. Mr. Harcourt filed a motion for reconsideration, which Judge

Hardeman denied on May 3, 1999.

      27.   Judge Hardeman rescheduled the Rule 32 hearing for July

26, 1999. Prior to the hearing, Mr. Hamm filed an affidavit with

the court stating that        "I want Mr. Harcourt to continue to

represent me in my case in Cullman, Alabama.         Whether Pamela Nail

does or does not act as counsel, I want Mr. Harcourt to be my

attorney."

      28.   Judge Hardeman held the Rule 32 hearing on July 26, 1999.
At the hearing, Mr. Hamm told Judge Hardeman that "I object to the

proceeding in this Rule 32 Petition without my counsel of choice,

Bernard Harcourt."

      29.   Over petitioner Hamm's protests, Judge Hardeman held the

hearing without Mr. Harcourt.       Mr. Hamm was represented at that

hearing by Pam    ail.    Ms. Nail presented none of the evidence that
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Mr. Harcourt had disclosed in his motions.          Ms. Nail called no

witnesses other than trial counsel, who were hostile to Mr. Hamm's

interests.

     30.   Shortly thereafter, Pam Nail withdrew as counsel for Mr.

Hamm, stating that "due to [her] health, she will be undergoing

therapy and will be unable to handle the appeal."

     31.   On Friday, December 3, 1999, the Alabama Attorney General

filed with the lower court a "PROPOSED MEMORANDUM OPINION." (Letter

from Assistant Attorney General Beth Hughes to Judge Hardeman).

     32.   On Monday, December 6, 1999, without even modifying the

caption of the order and making any changes to the proposed order,

Judge Hardeman signed the       'PROPOSED    MEMORANDUM   OPINION." The

court's order denying Mr. Hamm's Rule 32 petition in this case, to

this day, is still called the "PROPOSED MEMOFUWDUM OPINION."

     33.   Bernard Harcourt filed an appeal on Mr. Hammls behalf

with the Alabama Court of Criminal Appeals challenging the denial

of the Rule 32 petition and the unconstitutional procedures that

surrounded the Rule 32 proceedings.

     34.   On February 1 , 2002, the Alabama Court of Criminal

Appeals affirmed the denial of Mr. Hamm's Rule 32 petition.          Doyle

Lee Hamm v. State, 913 So. 2d 460 (Ala. Cr. App. 2002).

     35.   On April 19, 2002, the Alabama Court of Criminal Appeals

denied Mr. Hammls application for rehearing.          Doyle Lee Hamm v.

State, 2002 Ala. Crim. App. LEXIS 3242 (2002).
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     36.   Mr. Hamm filed a timely petition for writ of certiorari

with the Alabama Supreme Court on April 30, 2002.            The Alabama

Supreme Court denied Mr. Hamm's certiorari petition three years

later on May 20, 2005.

     37.   Mr. Hamm filed a timely certiorari petition with the

United States Supreme Court, which was denied by the Supreme Court

on November 14, 2005.     Doyle Lee Hamm v. Alabama, 126 S.Ct. 651

(2005). This habeas corpus petition follows in a timely fashion.



111. GROUNDS SUPPORTING THE PETITION FOR RELIEF

A.   THE TRIAL COURT FAILED TO INSTRUCT THE JURY ON THE LESSER
INCLUDED OFFENSE OF FELONY-MURDER IN VIOLATION OF STATE LAW AND
PETITIONER'S CONSTITUTIONAL RIGHTS GUARANTEED BY BECK v. ALABAMA

     38.   The facts underlying this case involve the robbery-murder

of a night desk clerk, Mr. Patrick Cunningham, at a road-side motel

in Cullman, Alabama.     Mr. Cunningham was fatally shot during the

course of a robbery late in the evening. Mr. Hamm was charged with

intentional robbery-murder under the Alabama capital statute. Mr.

Hamm's principal defense at trial was that he was intoxicated and

was not the trigger-person. His defense negated the element of

intent. Because the evidence at trial raised the question of

intoxication, the trial court instructed the jury on voluntary

intoxication.

     39.   However, the court improperly instructed the jury that

voluntary intoxication would reduce capital murder to manslaughter,

rather than felony-murder. The court's instruction stated:
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    In the event that you are convinced beyond a reasonable doubt
    from the evidence, ladies and gentlemen, that the defendant
    was guilty of the capital offense as charged in the indictment
    and as that term has been defined to you, but at that time he
    was voluntarily intoxicated to the extent that he could not
    form the necessary intent required to commit this offense, as
    I have defined this term to you, then I charge you that you
    could not find him guilty of the capital offense charged in
    the indictment, but that you should find him guilty of
    manslaughter. R-1182.
    40.    The    court's charge   was     incorrect   as    a    matter   of

elementary criminal law and Alabama state law.

    41.    If the jury found that Doyle Hamm was intoxicated and

unintentionally killed a person during the course of a robbery,

then Doyle would have been guilty of murder under the felony-murder

doctrine. S 13A-6-2 (a) (3), Alabama Code (1975).

     42.   It    is well   established    in Alabama   and       every other

jurisdiction in this country that "an unintentional killing during

the course of a robbery is . .      .    murder under the felony murder

doctrine." Coulter v. State, 438 So. 2d 336, 344 (Ala. Cr. App.

l982), aff'd, Ex parte Coulter, 438 So. 2d 352 (Ala. 1983) .

     43.   Because there was evidence of voluntary intoxication, the

court's failure to give the jury the third option of convicting

Doyle Hamm of a serious, non-capital crime (murder under the felony

murder doctrine) undermined the reliability of the jury's verdict

and denied Doyle Hamm his rights to due process and a fair trial

guaranteed by the Fifth, Sixth, Eighth and Fourteenth Amendments to

the United States Constitution. Beck v.~labama, 447 U.S. 625

(1980); Hopper v. Evans, 456 U.S. 605          (1982). The state court
adjudication of this claim resulted in a decision that was contrary

                                                                           11
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to,   and    involved   an   unreasonable    application     of,    clearly

established United States Supreme Court precedent.



B.   THE PROSECUTOR FAILED TO TURN OVER TO THE DEFENSE MATERIAL
EXCULPATORY EVIDENCE IN VIOLATION OF BRADY V. MARYLAND

      44.   The prosecutor did not make available to the defense the

complete prosecution files in accordance with Alabama law in a

capital case.     As a result, exculpatory materials and critical

mitigating    evidence were     withheld    in violation of        Brady   v.

Maryland, 373 U.S. 83 (1963).

      45.    The prosecutor failed to disclose material            evidence

concerning the co-defendant, Doug Roden.          These records include

correctional, medical and mental health records that were sealed

and never disclosed to defense counsel.

      46.    The prosecutor failed to disclose records from Central

Records at the Department of Corrections that revealed that Doug

Roden was diagnosed as having borderline and possibly antisocial

personality, and was suffering from alcohol and substance abuse

problems.

      47.    The prosecutor failed to disclose records from the

Correctional Medical Systems at Mt. Meigs that revealed that Doug

Roden suffered from drug addiction; that Roden was diagnosed as

borderline and possibly antisocial personality and addicted to

alcohol and drugs; that Roden was recommended to be placed on

"substance abuse counseling" as well as "reality" and "self-concept
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enhancement" therapy; and that Roden spent 16 weeks at a drug

treatment unit.

     48.   The prosecutor failed to disclose records from Bryce

Hospital in Tuscaloosa, that revealed that Roden was placed in the

"Treatment Center for Alcohol and Drug Abuse" at Bryce ~ospital
                                                              ;

that Roden had a substance abuse problem and even used drugs on

hospital   grounds   when   he   was   in   treatment; that   Roden was

eventually kicked out of the drug treatment program for taking

drugs and lying to his counselors; that Roden was diagnosed with

alcohol abuse and mixed substance abuse; that Roden had a history

of drug and alcohol abuse "including IV drugs"; that Roden had a

"History of heavy Marijuana Smoking"; that Roden recited "a history

of drug use beginning with glue sniffing dating back to about the

age of 12"; that Roden admitted abusing "alcohol and drugs since

the age of twelve"; that Roden also lied repeatedly about his

condition, telling some doctors at Bryce that "he does not think he

has an alcohol or drug problem as he can always 'take it or leave

i t 1 " ;that Roden had been "picked up for Public Intoxication several

times"; that Roden had a history of alcohol and mental health

problems in his family; and that the psychological evaluation

"indicates significant dysfunctions."

     49.   None of this was turned over to defense counsel.          As a

result, at trial, counsel for Mr. Hamm had no evidence to impeach

Doug Roden about his track record of lying, about his own drug

problems, or about his mental health problems.
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       50.   In addition, the prosecutor failed to turn over in a

timely manner prior statements by Ms. Kathryn Flannagan.             Kathryn

Teresa Flanagan was shown two picture line-ups and three live line-

ups.    Ms. Flanagan was able to identify two individuals.                Ms.

Flanagan identified Ms. Paula Cook as being the first person that

walked into the motel.          Ms. Flanagan also identified Douglas Roden

as being either the first or the second person in the motel.                Ms.

Flanagan did not identify Doyle Hamm in the line-ups.

       51.   There    is   a    reasonable   probability   that,    had     the

prosecutor made the complete files available as required, "the

result of the proceeding would have been different." United States

v. Bagley, 473 U.S. 667, 682 (1985). The prosecutor's withholding

of this information denied Mr. Hamm his rights to due process, a

fair trial and a reliable sentencing proceeding in violation of the

Fifth, Sixth, Eighth and Fourteenth Amendments to the United States

Constitution.        Brady; Bagley; Kyles v. Whitley, 115 S.Ct. 1555

(1995); Green v. Georgia, 442 U.S. 95 (1979). The state court

adjudication of this claim resulted in a decision that was contrary

to,    and   involved      an    unreasonable   application   of,    clearly

established United States Supreme Court precedent.
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C.   IT  WAS   IMPROPER   FOR   THE   STATE  COURT   TO   CONSIDER
UNCONSTITUTIONALLY OBTAINED PRIOR CONVICTIONS AT THE SENTENCING
PHASE IN VIOLATION OF DOYLE HAMM'S RIGHTS TO DUE PROCESS AND TO BE
FREE OF CRUEL AND UNUSUAL PUNISHMENT.

     52.   In September 1977, Doyle Hamm was indicted on two counts

of armed robbery in the State of Tennessee. On February 2, 1978,

Mr. Hamm pled guilty to two counts of simple robbery and was

sentenced to five years in the state penitentiary.

     53.   The state introduced evidence of these two Tennessee

convictions at the penalty phase of Doyle's Alabama death penalty

trial.

     54.   For   a   number   of   reasons,    those   convictions   were

unconstitutionally obtained. Mr. Hamm was not notified of the

rights that he was waiving by pleading guilty in Tennessee court in

violation of Boykin v. Alabama, 395 U.S. 238 (1969). Mr. Hamm did

not receive the effective assistance of counsel by his Tennessee

appointed lawyer in violation of Strickland v. Washington, 466 U.S.

688 (1984). Mr. Hamm's guilty pleas were not voluntary, knowing or

intelligent in violation of Machibroda v. U.S., 368 U.S. 487

(1962). Mr. Hamm was denied the right to appeal in violation of

Douglas v. California, 372 U.S. 353           (1963) and Boykin, supra.

Moreover, newly discovered evidence establishes that Mr. Hamm was

actually innocent of robbery and therefore his convictions are

invalid.

     55.   The introduction of these unconstitutionally obtained

guilty pleas at his trial in Alabama and their use as aggravating
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circumstances render his sentence of death constitutionally infirm.

Johnson v. Mississippi, 486 U.S. 578 (1988). In addition, because

Alabama trial counsel unreasonably failed to investigate these

prior convictions, Mr. Hamm received ineffective assistance of

counsel at his death penalty trial.      Strickland v. Washington, 466

U.S. 688 (1984).

     56.   In order to place this claim in context, it is important

to understand the background of the events leading up to his guilty

pleas in Tennessee. On September 7, 1977, Doyle Lee Hamm, Don

Harrison and Mark     Sherrod were     drinking heavily      and   smoking

marijuana outside of a Tennessee bar when Hamm and Harrison got

into a fist fight that several people witnessed. Soon thereafter,

police approached Harrison and Sherrod.        Fearing that they would be

arrested   for possession     of   marijuana    and   fighting, the       two

concocted a story that they had been robbed by Hamm. Doyle Hamm was

then arrested and charged with two counts of simple robbery.

Although both accusers had credibility-shattering prior convictions

and over seven witnesses were willing to testify that there had

been no robbery, Doyle Hamm was advised to plea guilty by his court

appointed lawyer, William Travis Gobble. Doyle Hamm, not aware of

his rights or his constitutional protections as a defendant,

submitted to the arrangement.        Mr. Gobble had not investigated

Hamm's case whatsoever.

     57. Mr. Hamm's guilty pleas were unconstitutional because he

was not informed of the constitutional rights he was waiving by
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pleading guilty. This is facially clear from the transcript of the

plea hearing. Mr. Hamm was neither aware, nor was he informed of

his right to confront his accusers, of his right of compulsory

process, or of his right against compulsory self-incrimination.

Because he was not made aware of these fundamental rights by either

his counsel or the trial court, and did not know them, Mr. Hamm was

denied the rights guaranteed by the Fifth, Sixth, Eighth and

Fourteenth Amendments.

     58.   Mr.    Hamm's      convictions    for     simple    robbery    were

unconstitutional because he was denied the effective assistance of

counsel. His      appointed    counsel, Mr.        Travis   Gobble, did    not

investigate any aspect of the case before advising Hamm to plead

guilty. Gobble admits that he "relied too heavily upon the state's

account that a robbery had occurred." Mr. Gobble also failed to

notify Mr. Hamm of his constitutional rights. These failures

prejudiced Doyle Hamm, as he would not have pled guilty had he

known about his lawyer's inadequacies. Because of his counsel's

incompetent      representation,    Mr.     Hamm    was     denied   effective

assistance of counsel in violation of the Sixth, Eighth, and

Fourteenth Amendments.

     59.   Mr.     Hamm's     convictions    for     simple    robbery    were

unconstitutional because he did not knowingly, intelligently or

voluntarily plead guilty. Defense counsel discussed nothing with

Mr. Hamm other than what Hamm should say when he was in front of

the judge. Mr. Hamm did not understand the nature of the charge
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that he was pleading to, nor did he comprehend that he had any

choice   at    all.         Doyle   Hamm   was    convicted   on   an   unknowing,

unintelligent, involuntary guilty plea in violation of the Sixth,

Eighth, and Fourteenth Amendments.

     60.      Mr.       Hamm's      convictions    for   simple     robbery   were

unconstitutional because he was denied his right to appeal. Both

the court and the district attorney-general, Robert Gay, mistakenly

informed Mr. Hamm that he had no right to appeal:

     Mr. Gay -                He has no right of appeal, Your Honor, on
                              a plea of Guilty

     The Court          -     I doubt he would have.

     Mr. Gay        -         The law is clear, I believe, on that.

     The Court          -     Yes, sir. He has no right of appeal on a
                              plea of Guilty.

     Mr. Gay        -         That's right, Your Honor.

The denial of Doyle Hamm's right to appeal was a denial of his

fundamental right to due process and violated the Sixth, Eighth,

and Fourteenth Amendments.

     61.      Mr.       Hamm's      convictions    for   simple     robbery   were

unconstitutional because newly discovered evidence proves that Mr.

Hamm is innocent of robbery. One of Hamm's alleged victims now

states that he was never robbed by Mr. Hamm.                       Also, four eye

witnesses, never contacted by Mr. Gobble, have testified that no

robbery took place.           To sentence Mr. Hamm to death on the basis of

charges for which he was innocent violates due process and his

right to be free from cruel and unusual punishment guaranteed by
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the Sixth, Eighth and Fourteenth Amendments to the United States

Constitution.

     62. The court's reliance on these unconstitutionally obtained

convictions prejudiced Doyle Lee Hamm.        The prosecutor presented

these prior convictions as an aggravating circumstance in Mr.

Hamm's Alabama capital trial in 1987, and the court relied on them

in sentencing Mr. Hamm to death.       For all of these reasons, the

court's reliance on the unconstitutional prior convictions violated

Mr. Hamm's Eighth Amendment right to be free of cruel and unusual

punishment and Fourteenth Amendment right to due process.

     63.    The special reliability concerns present in death penalty

cases mandate the review of constitutionally questionable prior

convictions when those prior convictions form the underlying

aggravating circumstance.      As a death penalty case, Mr. Hamm's

conviction has the 'special need for reliability' implicated in

Johnson v. Mississippi, 486 U.S. 578, 584 (1988). In addition, this

is the rare type of case where the trial court in the underlying

Tennessee case misinformed Mr. Hamm that he had no right of appeal

and failed to appoint counsel on appeal.          Doyle Hamm was also not

informed of bedrock rights, such as the right to confront his

accuser or his privilege against compelled self-incrimination,and

these flagrant errors are obvious from the transcript of the

Tennessee    plea   hearing.   The   right   to    appellate   counsel   is

fundamental to our concept of ordered liberty. Failing to appoint
counsel for an indigent defendant's first appeal as of right
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seriously   deprives      him      of   the   most   fundamental   procedural

safeguards that our criminal justice system provides. In addition,

Mr. Hamm is actually innocent of the crimes for which he was

convicted in Tennessee. For all of these reasons, this court must

review Doyle Hamm's unconstitutionally obtained prior convictions

and grant this habeas corpus petition. The state court adjudication

of this claim resulted in a decision that was contrary to, and

involved an unreasonable application of, clearly established United

States Supreme Court precedent.



D.   THE PROSECUTOR AMBUSHED DEFENSE COUNSEL BY FAILING TO
DISCLOSE, OR TO PRODUCE IN DISCOVERY, THE AGGRAVATING CIRCUMSTANCES
THAT THE STATE INTENDED TO PROVE, IN VIOLATION OF DOYLE'S
CONSTITUTIONAL   RIGHTS  TO DUE     PROCESS, A    FAIR  TRIAL, AN
INDIVIDUALIZED SENTENCING HEARING, AND TO BE FREE FROM CRUEL AND
UNUSUAL PUNISHMENT

     64.    The state did not inform appointed counsel before trial

that it would attempt to prove the existence of the aggravating

circumstance listed at         §   13A-5-49( 2 ) , Ala.   Code (1975)~namely

that Doyle Hamm had been previously convicted of a felony involving

the use     or   threat   of       force to   the person. The      aggravating

circumstance was not listed in the indictment, nor disclosed to

trial counsel.

     65.    Despite that, at the penalty phase of Doyle's trial, the

state introduced evidence of two convictions for simple robbery

from the State of Tennessee.            The state's failure to disclose that

it intended to rely on the prior felony convictions denied Doyle
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Hamm the opportunity to challenge the prior convictions pre-trial

and therefore violated petitioner's rights to due process, to

present    a    defense,   to   a   fair   trial,   to   an   individualized

sentencing, and to be free from cruel and unusual punishment

guaranteed by the Sixth, Eighth and Fourteenth Amendments to the

United States Constitution. The state court adjudication of this

claim resulted in a decision that was contrary to, and involved an

unreasonable application of, clearly established United States

Supreme Court precedent.



E.   THE CAPITAL SENTENCING JURY WAS INFORMED THAT DOYLE HARM WAS
CHARGED WITH TWO COUNTS OF ARMED ROBBERY IN TENNESSEE, EVEN THOUGH
HE WAS ONLY CONVICTED OF SIMPLE ROBBERY, IN VIOLATION OF
PETITIONER'S RIGHTS GUARANTEED BY THE SIXTH, EIGHT AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION.

     66.       During the penalty phase of Doyle Hamm's capital trial,

the state introduced only two additional pieces of evidence, namely

these two judgments concerning prior convictions for simple robbery

from the State of Tennessee.

     67.       The trial court did not allow the indictments into evi-

dence because they charged Doyle with a greater crime                 (armed

robbery) than that which he was convicted (simple robbery); nev-

ertheless, the judgments of conviction were admitted into evidence,

over objection, as State's Exhibits 1-A and 1-B

     68.       State's Exhibit 1-A bears a caption in large, capitalized

letters, that says ARMED ROBBERY.
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       69.   State's Exhibit l-A also states in the text of the very

first paragraph that Doyle Hamm has been arraigned upon the in-

dictment for Armed Robbery.

       70.   State's Exhibit l-B similarly bears a caption in large,

capitalized letters, that says ARMED ROBBERY.

       71.   State's Exhibit l-B also states in the text of the very

first paragraph that Doyle Hamm has been arraigned upon the in-

dictment for Armed Robbery.

       72.   The fact that the capital sentencing jury was informed

that Doyle Hamm had been charged with the greater offense of armed

robbery on both counts denied petitioner his right to a fair trial,

to an individualized sentence and to be free from cruel and unusual

punishment     in violation of      the Sixth, Eighth and        Fourteenth

Amendments to the United States Constitution. The state court

adjudication of this claim resulted in a decision that was contrary

to,    and    involved    an   unreasonable    application    of,       clearly

established United States Supreme Court precedent.



F. DOYLE HAMM WAS DENIED THE EFFECTIVE ASSISTANCE OF COUNSEL AT
TRIAL AND ON APPEAL, IN VIOLATION THE SIXTH, EIGHTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION

        (1) The State Interfered With Doyle Hamm's Right To The
            Effective Assistance of Counsel By Placing Unreasonable
            Financial Constraints On His Court Appointed Lawyers

       73. Due to the unreasonable financial constraints imposed on

trial and appellate counsel by the State of Alabama, -
                                                     see            §   1512-21
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(d) , Alabama Code (1975) , Doyle Hamm was denied constitutionally

effective assistance of counsel.

      74. Because counsel was not being remunerated for out-of-court

costs beyond $1,000, counsel simply could not afford to conduct the

kind of investigation that is required in a death penalty case.

      75. Counsel could not travel to Tennessee and investigate and

challenge Petitioner's prior convictions in Tennessee.

      76.    Counsel could not afford to travel throughout Alabama and

Mississippi and document the impoverished and traumatic background

of Doyle Hamm.
      77.    Counsel could not afford to conduct the time-consuming

and expensive mental health investigation required to effectively

present Doyle's mental health condition.

      78.    Counsel could not afford to conduct the background in-

vestigation       throughout    Alabama    of    the     co-defendant    and

triggerperson, Douglas Roden.

      79. Petitioner was also denied effective assistance of counsel

on appeal by the insufficient funding provided by the State of

Alabama for the compensation of capital appellate attorneys and for

their expenses.

      80. For these and other reasons, the State of Alabama denied

~ o y l e Harnm   the   effective   assistance   of    counsel   by   placing

unreasonable financial constraints on appointed counsel, resulting
in petitioner's improper conviction for capital murder and improper

sentence of death.
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     (2)   Trial and Appellate Counsel Suffered from a Conflict of
           Interest

    81.    Mr. Hamm's trial counsel was actually operating under a

conflict of interest: on the third day of trial, September 24,

1987, during the guilt phase of the trial, defense counsel was

appointed Special Assistant to the Attorney General, and was

therefore part of the same law office as the prosecution team,

which included Assistant Attorney General Tom Sorrells, from the

Attorney General's Office.

     82.   As a result, appointed counsel failed to give petitioner

his undivided loyalty. Mr. Hamm's defense counsel did not inform

Mr. Hamm of his appointment as Special Assistant to the Attorney

General, nor did he seek a waiver of the conflict from his client.

This conflict of     interest violated Mr. Hamm's          right to the

undivided loyalty of his counsel. Cuyler v. Sullivan, 446 U.S. 335




     (3) Mr. Hamm Was Denied His 6th Amendment Right to Effective
         Assistance of Counsel When His Trial Counsel Failed to
         Challenge Hammls Blatantly Unconstitutional Prior
                 -


         Convictions Within the Statute of Limitations, Causing
         Mr. Hamm to Receive the Death Penalty.


     83.   Doyle Hamm's trial counsel failed to investigate and
challenge Mr. Hamm's blatantly unconstitutional prior convictions

from Tennessee. These unconstitutional prior offenses aggravated

Mr. Hammls current offense, resulting in his sentence of death

penalty. This error prejudiced Mr. Hamm and entitles him to habeas

relief under    Strickland v. Washington, 466 U.S. 668             (1984);

                                                                        24
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Rompilla v. Beard, 125 S. Ct. 2456, 2462 (2005); Wiggins v. Smith,

539 U.S.510, 521 (2003); and Williams v . Taylor, 529 U.S. 362, 396

(2000).

     84. Had counsel been effective, he would have challenged Mr.

Hamm's blatantly unconstitutional prior convictions. Mr. Hamm was

on trial for his life and his prior convictions served as the

state's only additional evidence at sentencing. The transcript of

Mr. Hamm's Tennessee prior convictions shows, on its face, the

obvious, extreme constitutional faults that permeated his plea.

Failing to challenge the unconstitutionality of Mr. Hamm' s prior

convictions was grossly ineffective and violated his              federal

constitutional rights.

     85.    Mr. Hamm was tried in Alabama in 1987. At the time, in

1987, Mr.    Hamm would have been able to challenge his prior

convictions in Tennessee. The two-year statute of limitations on

post-conviction review in Tennessee was enacted after 1987. Trial

counsel's failure to challenge the prior convictions when the

Tennessee courts would have had to consider the merits of the

challenge was unreasonable conduct that severely prejudiced Mr.

Hamm.      It violated Mr. Hammls federal right to the effective

assistance of counsel.      Strickland v. Washington, 466 U.S. 668

(1984); see generally Gregory G. Sarno, Annotation, Adequacy of

Defense Counsel's Representation of Criminal Client Regarding Prior

~onvictions,14 A.L.R. 4th 227 3 30 Acts or Omissions at Sentencing

Phase (1982).
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     (4) Ineffective Assistance of Counsel At Trial And on Appeal
          Constituted A Violation Of Petitioner's Sixth, Eighth And
                -


          Fourteenth Amendment Rishts

     86. Trial counsel was ineffective in failing to investigate

and to present mitigating evidence at the penalty phase, especially

evidence of Mr. Hamm's mental health impairments, education, family

upbringing, and medical problems, as well as at the guilt-phase.

Trial counsel simply called two witnesses: Mr. Hamm's sister and a

deputy sheriff, who gave one-page testimony to the effect that Mr.

Hamm had been a cooperative prisoner for eight months.               Counsel

failed to investigate and discover a wealth of documents and

testimonial   evidence   that   could    have    been   presented    at   the

sentencing.   This documentary evidence includes lengthy criminal

records of his family members, his school records, his medical and

mental health records. Possible testimonial evidence included the

testimony of a social worker, of a psychologist, and psychiatrist

to document Mr. Hamm' s mental          health   issues.     There    is no

acceptable reason - no possible strategic reason - why trial

counsel did not present this wealth of mitigating evidence,

documentary and testimonial.

     87. Counsel failed to object at trial to the court's failure

to give a felony-murder instruction and failed to raise this issue

on appeal, resulting in petitioner's improper conviction for

capital murder.
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    88.    Counsel   failed   to   object   at   trial    to     the   court's

instruction on accomplice liability and failed to raise this issue

on appeal, resulting in Doyle Hammls improper conviction.

     89. Counsel failed to adequately object to the prosecutor's

failure to disclose the aggravating circumstances that the state

intended to prove at the sentencing hearing and failed to raise

this issue on appeal, resulting in petitioner's denial of a fair

and individualized sentencing procedure.

     90. Counsel failed to adequately object to the introduction of

evidence that Doyle Hamm was         charged with        armed    robbery in

Tennessee and failed to raise this issue on appeal, resulting in

petitioner's improper sentence of death. Counsel failed adequately

to make sure that the evidence of the two convictions presented to

the jury were purged of the incorrect reference to "armed robbery"

rather than "simple robbery."

     91. Counsel failed to adequately investigate and challenge

Doyle Hamm's prior convictions in Tennessee.

     92. Counsel     failed to adequately object to              the court's

instructions at the penalty phase and failed to raise the issues

concerning penalty phase instructions on appeal.

     93. Counsel     failed to adequately object to the improper

prosecutorial comments and to raise this issue on appeal, resulting

in the denial of petitioner's right to a fair trial.

     94.   counsel failed to adequately research, prepare and argue

motions, including a Motion For Change of Venue, and failed to
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        I




            raise these issues on appeal; counsel's failure to obtain a change

            of venue resulted in the denial of petitioner's right to a fair

            trial.

                 95. Counsel failed to adequately object to the trial court's

            consideration of illegally obtained and highly prejudicial letters

            of Doyle Hamm and of the improper pre-sentence report and failed to

            raise this issue on appeal, resulting in the court's improper

    1       sentence of death.

                 96. Counsel failed to adequately investigate and present at

            trial the effects of drug use on Doyle Hamm's mental health.

                 97. Counsel failed to adequately investigate and present at

            trial the effects of alcohol on Doyle Hamm's mental health.

                 98. Counsel failed to adequately object to the prejudicial

            security measures taken at trial and to raise this issue on appeal,

            resulting in the denial of petitioner's right to a fair trial.

                 99. Counsel failed to adequately object to venire members that

            were unalterably in favor of the death penalty and failed to raise

            this issue on appeal, resulting in the denial of petitioner's

            rights to an impartial jury and to the free exercise of peremptory

            challenges.
I
                 l o o . Counsel failed to adequately challenge for cause venire
            member Sylvia Burks and failed to raise her partiality on appeal.

                 101. Counsel failed to adequately elicit information from the

            venire members in voir dire, to adequately challenge potentially

            biased venire members and to strike certain jurors.


                                                                                     28
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    102. Counsel     failed to adequately object to the unequal

distribution of peremptory challenges between the State and the

defense and failed to raise this issue on appeal.

     103. Counsel failed to adequately object to the introduction

of bullets, of a green army jacket and of testimony surrounding

these items, and failed to raise these issues on appeal, resulting

in the deprivation of due process and a fair trial.

     104. Counsel failed to adequately investigate the culpability

of other persons, resulting in petitioner's improper conviction for

capital murder.

     105. Counsel    failed to adequately object to the state's

failure to turn over in discovery exculpatory material and failed

to raise this issue on appeal.

     106. Counsel failed to adequately object to the court's

instruction on reasonable doubt and failed to raise the issue on

appeal, resulting in the denial of due process.

     107. Counsel failed to adequately object to the trial court's

refusal to give the proposed instruction on voluntary intoxication

and failed to raise this issue on appeal.

     108. Counsel failed to adequately object to the introduction

of gruesome, prejudicial, manipulated and unnecessary photographs

and failed to raise this issue on appeal.

     109. Counsel failed to adequately object to the admission of

Doyle Hamm's statement and of evidence seized in the search of the

trailer and failed to adequately argue these issues on appeal.
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     110. Counsel failed to adequately investigate and present

mental health defenses at the guilt and punishment phases, re-

sulting in the improper sentence of death.

     111. Counsel failed to object to the trial court's failure to

qualify expert witnesses and failed to raise this issue on appeal.

     112. Counsel failed to adequately object to the cruel and

unusual nature of death by electrocution or lethal injection, and

failed to raise this issue on appeal.

     113. Counsel failed to adequately investigate the background,

education, social and family history of Doyle Hamm and failed to

adequately present a compelling case in mitigation of the death

penalty.

     114. Counsel failed to conduct an adequate pre-trial inves-

tigation; counsel failed to perform the sensitive and in-depth

interviews with family members and other witnesses who could have

provided mitigation evidence and failed to adequately present

evidence at the guilt and penalty phase.

     115. Counsel failed to present mitigation evidence to the

trial court prior to sentencing, including evidence concerning

petitioner's background and family life, mental health and other

evidence that would have supported a case of life imprisonment

without parole.

     116. Counsel failed to adequately articulate to the sentencing

court reasons why petitioner's life should be spared.
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       117. Trial counsel otherwise failed to prepare, investigate

and pursue an effective defense on behalf of petitioner, resulting

in his capital conviction and sentence of death.

       118.   Appellate    counsel   failed   to    effectively   represent

petitioner on appeal by raising claims with little likelihood of

success and by failing to raise meritorious claims concerning

infringements of petitioner's rights in violation of the Fourth,

Fifth, Sixth, Eighth and Fourteenth Amendments to the United States

Constitution.

       119. The above failures of trial and appellate counsel re-

sulted in Doyle Hamm's improper conviction for capital murder and

in the improper sentence of death, and, thus, jointly and sepa-

rately, resulted in severe prejudice to Doyle Hammls case. The

representation by trial and appellate counsel denied Mr. Hamm the

right to the effective assistance of counsel, in violation of

Strickland v. Washington, supra; Rompilla v. Beard, 125 S. Ct.

2456, 2462      (2005); Wiggins v. Smith, 539 U.S.510, 521           (2003);

Williams v. Taylor, 529 U.S. 362, 396              (2000). The state court

adjudication of this claim resulted in a decision that was contrary

to,    and    involved    an   unreasonable    application     of,   clearly

established United States Supreme Court precedent.
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G.   THE RULE 32 STATE POST-CONVICTION COURT UNCONSTITUTIONALLY
PROHIBITED   DOYLE  HAMM'S   ATTORNEY,  BERNARD   HARCOURT,   FROM
REPRESENTING HIM AT HIS RULE 32 HEARING IN VIOLATION OF HIS RIGHTS
TO DUE PROCESS AND TO BE FREE FROM CRUEL AND UNUSUAL PUNISHMENT.

      120. In the 1998 state post-conviction proceedings, Judge

Hardeman impermissibly barred Mr. Hamm's attorney, Bernard E.

Harcourt,    from   representing    his    client.     Mr.   Harcourt      had

represented Mr. Hamm pro bono since 1990 in all state post-

conviction proceedings, as well as in state post-conviction and

federal habeas corpus proceedings in the state of Tennessee. Over

Mr.   Hamm's repeated protest       and over Mr. Harcourt's repeated

objections, the Rule 32 court nevertheless barred Mr. Harcourt from

attending the Rule 32 hearing, and ordered an appointed attorney,

Pam Nail, to conduct the hearing.         Pam Nail called no witnesses at

the Rule 32 hearing other than trial counsel. She did not call the

psychologist, or      the social worker, or any of           the numerous

mitigating witnesses who would have testified at the hearing and

who were known to her.       After doing nothing at the hearing, Ms.

Nail then withdrew from representation, leaving Mr. Hamm            without

counsel. During this entire period, Mr. Harcourt repeatedly moved

the court to be allowed to represent Mr. Hamm, and Mr. Hamm

repeatedly objected to the court's actions.             The state court's

actions were a gross violation of Mr. Hamm's Sixth Amendment right
"to have the Assistance of Counsel for his defence," his right to

due process and to be free from cruel and unusual punishment in

violation of the Sixth, Eighth and Fourteenth Amendments to the
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U.S. Constitution.       The actions of the state court in this

particular case, in the famous words of Mr. Justice Potter Stewart,

"can only lead [Mr. Hamm] to believe that the law contrives against

him." Faretta v. California, 422 U.S. 806, 834 (1975).

      121. The constitutional right to the assistance of counsel-

i.e. the original Sixth Amendment right as written in the U.S.

Constitution, not the Gideon right-applies in state criminal post-

conviction proceedings in a death penalty case. This is the right

to   be   represented by    one's   counsel under      the United   States

Constitution.      See Reynolds v. Alabama           Dept. of   Transp., 4

F.Supp.2d 1055,      1063   (M.D. Ala.     1998) ;    F.T.C. v.   Atlantex

Associates, 872 F.2d 966, 970 (11th Cir. 1989); U.S. v. Romano, 736

F.2d 1432, 1437 (11th Cir. 1984); Mekdeci By and Through Mekdeci v.

Merrell Nat. Labs., 711 F.2d 1510, 1523 (11th Cir. 983); see a l s o

Brief for Respondent, United States v. Cuauhtemoc Gonzalez-Lopez,

No. 05-352 (argued in May 2006 at the United States Supreme Court).

      122. That right was violated in this case.            As a factual

matter, Mr. Hamm had his own a t t o r n e y in the state Rule 32

proceedings.    Counsel was not appointed for him by the trial court

or by any other court.      Counsel was n o t afforded through a public

defender office     or any other legal service.             Mr. Hamm was

represented by attorney Bernard E. Harcourt, who, at the time of

the Rule 32 hearing, was a private attorney, was (and still is) a

member in good standing of the bar of the State of Alabama (among

other states), and was representing Mr. Hamm pro bono.            Moreover,
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Mr. Harcourt had represented Mr. Hamm for many years:               since 1990

in his Alabama state post-conviction proceedings and since 1992 in

his state post-conviction proceedings in Tennessee

       123. After more than nine years of representation by Bernard

Harcourt in a complicated death penalty case, the state court,

against Mr. Hamm's and Mr. Harcourt's will, inserted an ineffective

attorney to conduct a Rule 32 hearing in a death penalty case - an

attorney who, only weeks after the lower court's ruling, withdrew

from representation.

       124. The Sixth Amendment right-to-counselprovision applies to

state post-conviction proceedings. It is well established that

"regardless of whether petitioner would have been entitled to the

appointment of counsel, his right to be heard through his own

counsel      [is] unqualified."            Chandler v. Fretag, 348 U.S. 3 , 5

(1954); see also, United States v. Koblitz, 803 F . 2 d 1523, 1527-29

(11th Cir. 1986); United States v. Ross, 33 F.2d 1507, 1523 (11th

Cir. 1994).

       125. Even assuming arguendo that a Rule 32 proceeding is a

civil proceeding, Mr. Hamm still has a constitutional right under

federal law to be assisted by his retained counsel.                The Alabama

Constitution states              "[tlhat    no person   shall be   barred   from

prosecuting or defending before any tribunal in this state, by

himself or counsel, any civil cause to which he is a party."                ALA.

C o ~ s r . art. I ,   §   10 (emphasis added) .   Section 10 is borrowed from
the Magna Carta and has been construed in light of that history.
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See Quick v. Western Ry. of Alabama, 92 So. 608, 609 (Ala. 1922);

Ex parte Wetzel, 8 So. 2d 824, 825 (Ala. 942).          As a matter of

federal due process, Mr. Hamm was entitled to respect for his

Alabama constitutional right to counsel, as well as his federal
right to the assistance of counsel, as incorporated to the states

through the Fourteenth Amendment.     As the Fifth Circuit declared in

Potashnick v. Port City Const. Co., "the right to retain counsel in

civil litigation is implicit in the concept of fifth amendment due

process."   609 F.2d 1101, 1117-18 (5th Cir. 1980).             See also

Reynolds v. Alabama Dept. of Transp., 4 F.Supp. 2d 1055, 1063

(M.D.Ala.1998); F.T.C. v. Atlantex Associates, 872 F.2d 966, 970

(11th Cir. 1989) ; U.S. v. Romano, 736 F.2d 1432, 1437 (11th Cir.

1984); Mekdeci By and Through Mekdeci v. Merrell Nat. Laboratories,

711 F.2d 1510, 1523 (11th Cir. 1983).
     126. Where the right to the assistance of counsel exists, the

party with that right must be afforded fair opportunity to secure

counsel of his own choice. See Powell v. State of Alabama, 287 U.S.

45, 53 (1931). Applying the Fourteenth Amendment, this Court noted

there that, "If in any case, civil or criminal, a state or federal

court were arbitrarily to refuse to hear a party by counsel,

employed by and appearing for him, it reasonably may not be doubted

that such a refusal would be a denial of a hearing, and, therefore,

of due process in the constitutional sense." -
                                             Id. at 69.
     127. As a matter of federal right, the state courts deprived

Mr. Hamm of his right to counsel by barring Mr. Harcourt from
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representing Mr. Hamm at the Rule 32 hearing, in direct violation

of Mr. Hamm' s federal constitutional rights to counsel, to due

process, and to be free from cruel and unusual punishment. The

state court adjudication of this claim resulted in a decision that

was contrary to, and involved an unreasonable application of,

clearly established United States Supreme Court precedent.



H.   THE STATE COURT ABDICATED ITS ROLE OF IMPARTIAL JUDICIAL
DECISIONMAKER BY IMPERMISSIBLY SIGNING, WITHOUT EVEN THE SLIGHTEST
MODIFICATION, THE STATE'S 'PROPOSED MEMORANDUM OPINION" IN VIOLATION
OF MR. HAMM'S FEDERAL DUE PROCESS RIGHTS.


     128. The state court completely abdicated its role as neutral

arbiter of the post-conviction challenge in this case.           The state

court    simply   signed   the Alabama Attorney      General's   proposed

memorandum opinion without even changing the caption of the order.

Still today, the state court's order in this case reads: "PROPOSED

MEMORANDUM OPINION."       The state court made no specific findings

that the Attorney General's conclusions were his own.        The order is

repeatedly date stamped "Dec 3 1999" - the day that the Attorney

General filed the proposed order - AND "Dec 6 1999" - the day that

Judge Hardeman signed the "Proposed Memorandum Opinion" without

even changing the caption.

        129. The state court deprived Mr. Hamm of elementary due

process when it signed the Alabama Attorney General's proposed

memorandum order without making independent findings on its own.

This is evidenced by the court's failure even to change the caption
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to eliminate the "PROPOSED" heading, clean up the date stamps, or

state anywhere that the court had independently reviewed the

evidence.

     130. While federal courts have tolerated the practice of

courts'   adopting   a    party's   findings   of   fact   under   certain

circumstances, they have expressed their disapproval and have not

condoned the type of conduct engaged in this case. Constitutional

due process requires that the court make an "independent judgment

about the law and then decide[] that one party's proposed findings

of fact and conclusions of law precisely express[] its judgment."

Pennsylvania Envtl. Def. Found. v. Canon-McMillan School Dist., 152

F.3d 228, 233 (3d Cir. 1998); see also In re Colony Square, 819

F.2d 272 (11th Cir. 1987) . Particularly given the deference that

federal habeas courts give to state post-conviction findings, Mr.

Hamm is entitled to have his case decided upon the basis of

findings and legal determinations that are the result of "inde-

pendent judicial labors and study" of a judge, Louis Dreyfus         &   Co.

v. Panama Canal Co., 298 F.2d 733, 737 (5th Cir. 1962), not an

Attorney General.    See also Goldberg v. Kelly, 397 U.S. 254, 271

(1970) ("an impartial decision maker" is an "essential" component

of due process) .

     131.   Disposition of a capital case through a ghost-written

opinion is completely at odds with the need for both the reality

and appearance that review of a sentence of death be fair, objec-

tive and reliable.       Johnson v. Mississippi, 486 U.S. 578 (1988);
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Zant v. Stephens, 462 U.S. 862 (1983); Gardner v. Florida, 430 U.S.

349 (1977). The state court adjudication of this claim resulted in

a decision that was contrary to, and involved an unreasonable

application of, clearly established United States Supreme Court

precedent.



I.   THE TRIAL COURT'S INSTRUCTION ON ACCOMPLICE LIABILITY DENIED
DOYLE HAMM HIS RIGHTS GUARANTEED BY THE SIXTH, EIGHTH AND
FOURTEENTH AMENDMENTS

     132. At Doyle Hamm's trial, the court instructed the jury

that a non-triggerman accomplice is just as guilty as the trig-

german regardless of whether he had a particularized intent to

kill the victim as long as he is "in some way" "concerned" in the

commission of a crime":

                Now, ladies and gentlemen, I further
          instruct you that an accomplice is defined as
          an associate in crime, a partner or a
          partaker in guilt. An accomplice i s one who
          i n some way i s concerned in the commission o f
          a crime.

                  When two or more persons enter into a
             conspiracy or a plan to accomplish some
             unlawful act, any act done b y one o f them i n
             the performance o f the original conspiracy i s
             the act o f a l l .

                  I f a person a i d s and abets another one i n the
             commission o f a crime that person i s as g u i l t y as
             the party who commits the crime.. .



             . . . The Court does now instruct you that
             the two witnesses who testified in this case,
             Regina Roden and Doug Roden, would be accom-
             plices in this case. (R-1170-71).
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This instruction on accomplice liability is incorrect: in the

context of capital murder, a non-triggerman accomplice is only 'as

guilty as the party who commits the crime' if, and only if, he has

a particularized intent to kill the victim.

       133. In this case, there was a factual dispute as to whether

Doyle Hamm or Douglas Roden shot Patrick Cunningham.                The only

independent person who witnessed the robbery of the Anderson Motel,

Kathryn Teresa Flanagan, identified Douglas Roden in a live line-

up, but did not identify Doyle Hamm.

       134. The jury instruction in this case was so egregious that

it is the type of "ailing instruction [that] by itself so infected

the entire trial        that    the resulting conviction violates due

process." Cupp v. Naughten, 414 U.S. 141, 147 (1973). Federal law

requires prosecutors to bear the burden of proving all elements of

a charged crime beyond a reasonable doubt.         In re Winship, 397 U.S.

358, 364 (1970); Sullivan v. Louisiana, 508 U.S. 275, 278 (1993).

A jury instruction like this one, that can be interpreted to

relieve the state of its burden of proving an element of the crime,

violates due process.          Sandstrom v. Montana, 442 U.S. 510 (1972);

Carella v. California, 491 U.S. 263             (1989). The state court

adjudication of this claim resulted in a decision that was contrary

to,    and   involved    an     unreasonable   application    of,    clearly

established United States Supreme Court precedent.
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J.   THE TRIAL COURT'S    PENALTY PHASE JURY INSTRUCTIONS WERE
CONSTITUTIONALLY FLAWED AND DENIED DOYLE HARM HIS RIGHTS GUARANTEED
BY THE SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION

     135. Doyle Hamm presented numerous statutory and non-statutory

mitigating circumstances at the penalty phase of his trial.

     136. The court's oral charge, however, failed to adequately

explain the meaning and function of mitigating circumstances: the

court merely defined mitigating circumstances in a circular fashion

as "any circumstances that indicate or tends to indicate that the

defendant should be sentenced to life imprisonment without parole

instead of death;" and the court failed to list or explain the

applicable non-statutory mitigating circumstances.

     137. It is well established that where a capital defendant has

presented mitigating evidence, the absence of adequate explanatory

instructions on mitigation creates a reasonable possibility that

the jury may misunderstand the meaning and function of mitigating

evidence,    in   violation   of   a    defendant's Sixth,        Eighth   and

Fourteenth   Amendment    rights       to   an   individualized     sentence.

Cunningham v. Zant, 928 F.2d 1006 (11th Cir. 1991).

     138. The trial court also failed to instruct Doyle Hamm's

capital sentencing jury that it had the option of sentencing Doyle

to life imprisonment without parole even if it found one or more

aggravating circumstances and no mitigating circumstances.

     139. By limiting the jury's option to sentence Doyle to life

imprisonment without parole, the court established a legal pre-
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sumption in favor of the death penalty that violated Doyle's

constitutional rights to due process and an individualized sentence

guaranteed by the Sixth, Eighth and Fourteenth Amendments to the

United States Constitution. Moore v. Kemp, 809 F.2d 702 (11th Cir.

1987) (en banc) .

     140. The trial court's instructions at the penalty phase also

permitted the jury to use an element of the capital offense, namely

that the incident was committed during the course of a robbery, as

an aggravating circumstance.

     141. By double-counting robbery as both an element of the

crime and an aggravating circumstance, the court impermissibly

undermined the narrowing function that aggravating circumstances

must accomplish to satisfy Eighth Amendment requirements.

     142. Moreover,     the   double-counting    also    undermined       the

channeling and guiding function that aggravating circumstances must

accomplish with regard to the jury deliberations.

     143. As a result, the trial court's penalty phase instructions

denied petitioner a fair sentencing and an individualized sentence

in violation of the Sixth, Eighth and Fourteenth Amendments to the

United States Constitution. The state court adjudication of this

claim resulted in a decision that was contrary to, and involved an

unreasonable application of, clearly established United States

Supreme Court precedent.
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K. THE STATE MADE IMPROPER COMMENTS AT DOYLE HAMM'S CAPITAL TRIAL
THAT DENIED DOYLE HIS RIGHTS TO A FAIR TRIAL AND TO A N
INDIVIDUALIZED SENTENCE, AS GUARANTEED BY THE FIFTH, SIXTH, EIGHTH,
AND FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION.

     144. Throughout Doyle Hamm's capital trial, the state prose-

cutor made improper remarks that denied petitioner a fair trial in

violation of petitioner's rights to due process and a fair trial

guaranteed by the Fifth, Sixth, Eighth and Fourteenth Amendments to

the United States Constitution.

     1.   Expressions of Personal Belief.

     145. It is improper for the prosecutor to relay his personal

belief about a defendant's quilt.              Quinlivan v. State, 579 So. 2d

1386 (Ala. Cr. App. 1991); Arthur v. State, 575 So. 2d 1165 (Ala.

Cr. App. 1990), cert. denied, 575 So. 2d 1191 (Ala. 1991).

     146. At Doyle Hamm's trial, the prosecutor stated:

          M y job i s a s d i s t r i c t a t t o r n e y o f this c o u n t y i s [sic] t o
          s e e t h a t j u s t i c e i s done.        And I submit to you, ladies
          and gentlemen, that if you use your common sense then you
          consider all of the facts that are in evidence and you
          apply the law that His Honor will charge you, that i f
          j u s t i c e i s done i n t h i s c a s e t h a t you w i l l f i n d Doyle
          Harm g u i l t y o f c a p i t a l m u r d e r . R-1129.


     147. Similarly, during the penalty phase closing argument at

Doyle Hamm's capital trial, the prosecutor told the jury:

          . . . I told you before my background is religious and I
          like to f o r g i v e people. I think, folks will tell you,
          even though some folks think I am a pretty mean
          prosecutor in my p e r s o n a l l i f e I am p r e t t y f o r g i v i n g .
          But I don't have that choice. I d o n ' t h a v e that o p t i o n ,
          b e c a u s e a s a p r o s e c u t o r I h a v e t o do what i s r i g h t and
          what i s j u s t i c e .     This whole community will fall apart.
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R-1268-69. -
           See -
               also R-1139 ('No matter what I do in my personal

life about forgiveness or sympathy for someone who is in trouble, I

am in this job.    It would be immoral for m e not to exact j u s t i c e as

the l a w c a l l s for i t 1 ) ; R-1164 ( ' W e ask you for nothing more than

justice and that is a verdict of guilty of capital murder.')

      2.     Expressions of Prosecutorial Discretion and Expertise.

      148. "The prosecutor also cannot imply to the jury that he or

his office had already made the judgment that this case, above most

other capital cases, warrants the death penalty. . . This kind of

abuse unfairly plays upon the jury's susceptibility to credit the

prosecutor's viewpoint . " Brooks v. Kemp, 762 F.2d 1383, 1411 (11th

Cir. 1985) , vacated on other grounds, 478 U.S. 1016 (1986).           Courts

have also expressly condemned concerns references by prosecutors to

their expertise.     Brooks v. Kemp, 762 F.2d at 1410.

      149. During the penalty phase closing argument of Doyle Hamm's

capital trial, the prosecutor told the jury "I am not the kind of

prosecutor that says, oh, let's go burn everybody." R1267

      150. In addition, the prosecutors frequently relied on their

personal expertise during his closing arguments, such as when the

Assistant Attorney General stated "There were some inconsistencies

in   their   stories.     I   submit   to you    that   there    always are

inconsistencies in the stories." R-1149.

      3.     Expressions of Authority.

      151. Due to the prosecutor's position of authority, "improper

suggestions, insinuations, and especially, assertions of personal
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knowledge are apt to carry much weight against the accused when

they should properly carry none." Berger v. United States, 295 U.S.



     152. At Doyle Hammls trial, the prosecutor closed the penalty

phase by exploiting his position of authority and exhorting the

jury, as a community, to revenge the killing:

          Again as district attorney - - a s y o u r d i s t r i c t a t t o r n e y
          i n Cullman C o u n t y I a n g o i n g t o a s k you a t t h i s t i m e t o
          send a m e s s a g e and think about what I am going to say
          maybe during the time that you are deliberating. And I
          am g o i n g t o a s k you t o send a message t h a t we a s c i t i z e n s
          o f Cullman C o u n t y a r e n o t g o i n g to p u t up w i t h someone
          coming o u t o f h e r e from M i s s i s s i p p i or outside of the
          county from anywhere or within this county and committing
          an execution style killing like this man had to one of
          our citizens who had ever-y right to be alive here today.
            There is no reason that we should be here today.

          I n c l o s i n g I would l i k e t o a s k you to s e n d a message that
          we are not going to put up with it - - this type execution
          style killing here in Cullman County Alabama.



     4.   Ex~ressionsof Civic Dutv.

     153. During the penalty phase at Doyle Hamm's trial, the

prosecutor improperly argued that the jurors bore a responsibility

to sentence Doyle to death:

          Now, folks, I am telling you sincerely here today we are
          not here enjoying the idea of giving the death penalty to
          that man. . . i t i s o u r r e s p o n s i b i l i t y t o [ P a t r i c k
          Cunningham] t o d o it. R-1272.

     154. The prosecutor repeated and concluded his remarks with

the same refrain of civic duty:

          I ask you for justice. You are not going to enjoy what
          you are doing. It is a serious matter. But I s u b m i t t o
          you t h a t you h a v e a r e s p o n s i b i l i t y . R-1286-87.
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    155. The prosecutor told the jury that their duty to sentence

Doyle to death was Divine:

           But we are not God. [Defense counsel] said, leave it to
           God. We are not God. But some things are given to us to
           do.    It is a responsibility that we have. R-1268.

     156. Elsewhere, also in the closing argument at the penalty

phase, the prosecutor urged the jurors to sentence Doyle to death

and stated "the Bible also says that the governments are ordained

by God and you are to obey what governments say." R-1280.

     157. And the prosecutor also gave his "civic duty" theme a

Hollywood twist, telling the jury all about some movie about a

certain "Sergeant York" who, although he was personally against

killing anyone for any reason, killed lots of Germans during World

War I1 out of a sense of duty.      R-1270-1271.

     5.    Inflaming the Jury with Community Prejudice and Irra-
           tional Fear.

     158. Appeals to the passions and prejudices of the jurors, and

other inflammatory remarks, are also impermissible. See Viereck v.

United    States,   318   U.S.   236,   247-48     (1943); American      Bar

Association, Standards Relating         to   the   Prosecution Function,

Section 3-5.8 (c) (1982).

     159. At Doyle's capital trial, the Assistant Attorney General

inflamed the jury with community prejudice during his closing

argument at the quilt stage, when he said:

           When Patrick Cunningham died it affected everyone of us
           in this community.

           I told you, I think, that Cullman is a great place.
           People have treated me great here. There is a lot of
                                                                          45
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         things that you can say about a community. You can say
         they treat people great, a lot of opportunity here.

         People are friendly, you can get ahead here. There i s
         nothing b e t t e r that you can say that they t r e a t everybody
         & l i k e no matter who they are, r i c h or poor, or black or
         white, young or old, just as important as they treat your
         own life.

         You think about Patrick Cunningham when you go in that
         jury room . . . . . And think how you would feel if you were
         in Pat Cunningham's place. Because the reason you are
         here is to see that that doesn't happen again. R-1162-
          63.

     160. Also at the quilt phase of the trial, the prosecutor

instilled the jury with fear, threatening the jury that:


         But you know the way the law works, the law says if we
         don1t care about somebody1s death around here we don1t
         even know, we c a n ' t expect protection f o r o u r s e l f , if i t
         comes home. R-1162.

     161. At the penalty phase of Doyle's trial, the prosecutor

similarly argued that:

         Like I told you yesterday we are here, because a citizen
         in your county is dead. And he is the most important
         person to you in this community right now at this minute.
          He is as important as your own life. Because i f we don't
         consider the same f e e l i n g s about Pat Cunningham as we do
         ourselves, we are back t o the jungle.        R-1286.

     162. At the penalty phase of the capital trial, the Assistant

Attorney General impermissibly inflamed the passions of the jurors

when he exhorted them to take the deceased victim into the jury

room with them and have him participate in the jury deliberations.

     163. The prosecutor emphatically stated "1 submit you ought to

take a 13th juror in there with you.          And you ought to consider
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what that 13th juror has to say and that is Pat Cunningham." R-

1286.

    164. The state's comments - - intended only to inflame the

already strong community prejudice, to stir the jurors, passions

and to instill fear in the jury room - - were improper under state

law and under the United States Constitution.

     6.      Expressions of Future Dangerousness.

     165. It is well established that a prosecutor may not argue

that a defendant will commit future illegal acts for the purpose of

proving that the defendant is guilty. Ex parte Smith, So. 2d (Ala.



     166. During the guilt phase closing arguments at Doyle Hamm's

trial, the prosecutor impermissibly made reference to Doyle's

alleged future dangerousness:

             Mr. Cunningham made a big mistake if that was true. He
             didn't think that Doyle Hamm was for real, that he
             intended to kill him.

             And I submit t o you,   you shouldn't make the same mistake
             and think that Doyle    Hamm i s not f o r r e a l , because he i s .
             He meant to kill Mr.    Cunningham. I submit to you that he
             is a dangerous man.      R-1155.

        167. Given the context of this remark, the state's message was

clear: Doyle Hamm is a dangerous man and, if the jury does not take

him seriously, he will kill again.

        168. The prosecutor repeated the same refrain at the penalty

stage of the capital trial, when he argued that sentencing Doyle to

death would specifically deter him from ever killing anyone again:
             Murder is not just killing someone, murder is destroying
             their personality.    It is the intentional, unlawful
                                                                               47
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              killing of someone.    You tell me that is not worth
              revenge. They can tell you all day long that this isn't
              going to deter anybody. They can t e l l you t h a t until the
              cows come home, because you d e t e r t h i s man r i g h t here.



      169. These arguments about Doyle Hamm's future dangerousness,

including the comments about specific deterrence, denied Doyle a

fair trial and an individualized sentence.

      7.      Fabricating Facts.

      170. It is totally improper for a prosecutor to argue facts

not    in    evidence     or   to   misstate   the    facts.        Donnelly    v.
DeChristoforo, 416 U.S. 637 (1974); Arthur v. State, supra, 575 So.

2d at 1186.

      171. During both the guilt and penalty phase closing argu-

ments, the prosecutor fabricated facts about the crime that were

grossly prejudicial to Doyle Hamm and had absolutely no basis in

the evidence and no connection with reality.

       172. The prosecutor made up all kinds of stories about how Pat

Cunningham would have done anything the assailant told him to do in

order to save his life.           R-1281-82; R-1161; R-1284.

       173. For instance, during the penalty phase, the prosecutor

hypothesized       that    [ilf     (Doyle Hamm)     would   have    asked     (Pat

Cunningham) to take h i s clothes off he would have done it, because

that man had a gun on him and he wanted to live.' R-1282

       174. There is no basis and no reason - - either in fact or in

law   --    to interject highly prejudicial imagery of sexual assault

and homosexual battery into the capital trial of Doyle Hamm.
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     8.   Other Improper Arguments.

     175. Throughout the closing arguments, the prosecutor also

made repeated improper references to the impact of the crime on the

victim's family.   R-1137-63; R-1266-86.

     176. These remarks - - taken alone or in conjunction with all

the above comments - - were clearly improper, violated state law and

denied Doyle Hamm his rights to a fair trial and to an indi-

vidualized sentencing guaranteed by the Fifth, Sixth, Eighth and

Fourteenth Amendments to the United States Constitution. The state

court adjudication of this claim resulted in a decision that was

contrary to, and involved an unreasonable application of, clearly

established United States Supreme Court precedent.



L.   THE TRIAL COURT'S CONSIDERATION OF A PREJUDICIAL AND IMPROPER
PRE-SENTENCE REPORT AND OF IMPROPERLY OBTAINED CORRESPONDENCE
BETWEEN DOYLE HAMM AND HIS FAMILY AND FRIENDS VIOLATED DOYLE IS
RIGHTS TO DUE PROCESS AND A FAIR TRIAL GUARANTEED BY THE FOURTH,
FIFTH, SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION

     177. Before sentencing Doyle Hamm to death on December 1,

1987, the trial court read and relied on a presentence report

prepared by the Alabama Board of Pardons and Paroles

     178. The pre-sentence report contained information about the

murder that Doyle Hamm was charged with having committed in Mis-

sissippi on January 23, 1987.
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      179. The pre-sentence report also included an unsubstantiated

accusation that Doyle Hamm intended to kill the prison supervisor

during his incarceration at the Cullman County Jail.

      180. This       information     was   not   a   proper   subject     of

consideration: the murder charge in Mississippi and the attempted

murder accusation in Cullman amounted to non-statutory aggravating

circumstances that could not be considered by the court under

Alabama law. Berard v. State, 402 So. 2d 1044, 1050 (Ala. Cr. App.

1981); Lewis v. State, 380 So. 2d 970, 971 (Ala. Cr. App. 1980).

86.   The report also impermissibly mentioned another robbery that

Doyle    Hamm   was    alleged   to    have   committed   in   Lee   County,

Mississippi, as well as inadmissible hearsay about Doyle Hamm's

reputation in the community.

        181. This hearsay evidence was unconfronted, inadmissible and

improper and should not have been considered by the sentencing

judge. Gardner v. Florida, 430 U.S. 349               (1977); Proffitt v.

Wainwright, 685 F.2d 1227 (11th Cir. 1982), modified, 706 F.2d 311

(11th Cir. 1983), cert. denied, 464 U.S. 1002 (1983).

        182. During the course of discovery, the prosecutor turned

over to defense counsel and made known to the trial judge photo-

copies of personal letters that Doyle Hamm had written from jail to

his mother, siblings, family and friends.

        183. In those personal letters, Doyle Hamm confessed to an-

other crime in Mississippi.

        184. These letters were improperly seized from Doyle Hamm.
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       185. The trial court's consideration of the presentence report

and of these personal letters impermissibly influenced the court to

sentence Doyle Hamm to death, in violation of Petitioner's rights

guaranteed by the Fourth, Fifth, Sixth, Eighth and Fourteenth

Amendments to the United States Constitution. The state court

adjudication of this claim resulted in a decision that was contrary

to,     and   involved    an   unreasonable    application     of,    clearly

established United States Supreme Court precedent.



M.  THE SECURITY MEASURES AT DOYLE HAMM'S TRIAL CREATED A LOADED
ATMOSPHERE THAT DENIED PETITIONER HIS DUE PROCESS RIGHT TO A FAIR
TRIAL.

       186. During the capital trial, Doyle Hamm was heavily guarded

by an unreasonable number of law enforcement officers in close

proximity to him and throughout the courtroom.

        187. These highly prejudicial security measures destroyed jury

impartiality and denied Doyle Hamm his rights guaranteed by the

Sixth, Eighth and Fourteenth Amendments to the United States

Constitution. Elledge v. Duager, 823 F.2d 1439, 1450-52 (11th Cir.

1987).

        188. On several occasions, Doyle Hamm sat before the jury

restrained with wrist and leg irons.

        189. The United States Supreme Court has repeatedly stated

that    the   practice    of   shackling a    criminal    defendant    is   an

inherently prejudicial practice. Holbrook v. Flynn, 475 U.S. 560,

568-69 (1986); Estelle v. Williams, 425 U.S. 501, 503-04 (1976).
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     190. Physically restraining Doyle Hamm during the trial was

inherently prejudicial and, accordingly, denied him the right to a

fair trial guaranteed by the Constitution of the United States. The

state court adjudication of this claim resulted in a decision that

was contrary to, and involved an unreasonable application of,

clearly established United States Supreme Court precedent.



N.   THE TRIAL COURT FAILED TO EXCUSE FROM THE JURY VENIRE PERSONS
WHOSE BELIEFS AND EXPERIENCES SUBSTANTIALLY IMPAIRED THEIR ABILITY
TO SIT ON PETITIONER'S JURY, IN VIOLATION OF THE SIXTH, EIGHTH AND
FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION AND STATE
LAW.

     191. Venire   person Wm. R. McQuillin unambiguously stated

during voir dire that he would impose capital punishment on anyone

who intentionally took someone else's life.       R-160; R-212.

     192. Venire person Kevin Myrex also unambiguously stated that

he would impose the death penalty on anyone who intentionally

killed someone else.    R-161; R-202.

     193. In the State of Alabama, the gravamen of the capital

offense is an intentional killing and a criminal defendant is never

death eligible unless he has i n t e n t i o n a l l y killed one or more

persons. Ex parte Kyzer, 399 So. 2d 330 (Ala. 1981).

     194. In response to the court's question whether anyone had a

fixed opinion in Doyle Hamm's case, potential juror Sylvia Burks

volunteered that [tlhe little boy whose father was killed is in my

room in school.' R-95.
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     195. Sylvia Burks later repeated that the victim's son was in

her second grade classroom and had spoken to her about his father

being killed.

     196. As a matter of constitutional law, Sylvia Burks should

have been presumed biased for purposes of this capital trial.

     197. The court's failure to remove for cause venire members

McQuillin, Myrex and Burks denied Doyle Hamm his rights to an

impartial jury, to a fair trial and sentencing, and to the free

exercise of his peremptory challenges, in violation of the Sixth,

Eighth and Fourteenth Amendments to the United States Constitution.

The state court adjudication of this claim resulted in a decision

that was contrary to, and involved an unreasonable application of,

clearly established United States Supreme Court precedent.



0.   THE TRIAL COURT DENIED DOYLE HAMM HIS RIGHT TO A PEREMPTORY
CHALLENGE AND TO THE EQUAL PROTECTION OF THE LAW WHEN IT ALLOWED
HIM ONLY 37 PEREMPTORY STRIKES AND ALLOWED THE STATE 38.

     198. During jury selection, the trial court allowed Doyle Hamm

only 37 peremptory challenges and allowed the state 38 peremptory

strikes.

     199. The court's unequal distribution of peremptory challenges

denied Doyle Hamm his rights guaranteed by the Sixth, Eighth and

Fourteenth Amendments to the United States Constitution. The state

court adjudication of this claim resulted in a decision that was

contrary to, and involved an unreasonable application of, clearly

established United States Supreme Court precedent.
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P. THE TRIAL COURT COMMITTED REVERSIBLE ERROR WHEN IT ADMITTED INTO
EVIDENCE AN UNMARKED GREEN ARMY JACKET, BULLETS FOUND IN THAT
JACKET AND TESTIMONY SURROUNDING THE JACKET AND BULLETS, BECAUSE
THE JACKET REMAINED UNATTENDED ON A DESK IN THE POLICE DEPARTMENT
IN CITY HALL FOR OVER THREE DAYS

     200. A green army jacket was seized on January 25, 1987,

during a search of the trailer that belonged to Alfred Uselton.

     201. The    army   jacket   was   taken   to   the   Cullman   Police

Department in City Hall and was left overnight unattended on the

desk of an investigator at the Police Department.

     202. A state's witness testified that, the following day, he

discovered bullets that were compatible with the alleged murder

weapon in a pocket of that green army jacket.

     203. The same green army jacket seized on January 25, 1987, in

the trailer of Alfred Uselton was never tagged or marked and

instead remained unattended on a desk in the Police Department in

City Hall until January 28, 1987.

     204. The state did not establish a full chain of custody for

the army jacket after January 28, 1987.

     205. Because the state investigators never marked or otherwise

identified the green army jacket and because the state did not

establish a complete chain of custody regarding the jacket, and

because of the break in the chain of custody of the green army

jacket, neither the jacket, nor the bullets, nor any testimony

about the jacket or the bullets were admissible under state law,

and the court's failure to exclude the evidence denied Doyle Hamm
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his right to a fair trial, to due process and to be free from cruel

and unusual punishment guaranteed by the Fourth, Fifth, Sixth,

Eighth and Fourteenth Amendments to the United States Constitution.

The state court adjudication of this claim resulted in a decision

that was contrary to, and involved an unreasonable application of,

clearly established United States Supreme Court precedent.



Q.   THE TRIAL COURT IMPROPERLY INSTRUCTED THE JURY ON REASONABLE
DOUBT AND IMPROPERLY REFUSED PETITIONER'S PROPOSED JURY INSTRUCTION
CONCERNING VOLUNTARILY INTOXICATION, IN VIOLATION OF STATE LAW, THE
FIFTH, SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION.

     206. At Doyle Hamm's trial, the court improperly instructed

the jury on the element of reasonable doubt at both the quilt and

penalty phases.    R-1166-67; R-1293-94.

     207. The court's instructions on reasonable doubt was legally

incorrect and would have allowed the jury to find Doyle Hamm guilty

on a degree of proof below that required by the Due Process Clause

of the United States Constitution. Cage v. Louisiana, 498 U.S. 39,

111 S.Ct. 328, 112 L.Ed. 2d 339 (1990).

     208. The court's error was compounded by the prosecutor's

improper comments on reasonable doubt.        R-1140-42.

     209.   The   trial   court   also   refused    counsel's    requested

instruction that a person is voluntarily intoxicated if he is

'incapable of rational action.'

     210. The court's ruling violated state law, see Crosslin v.

State, 446 So. 2d 675, 681 (Ala. Cr. App. 1983), cert. denied (Ala.
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1984)) as well as Petitioner's rights to a fair trial guaranteed by

the Fifth, Sixth, Eighth and Fourteenth Amendments. The state court

adjudication of this claim resulted in a decision that was contrary

to,    and    involved   an   unreasonable     application    of,   clearly

established United States Supreme Court precedent.



R. THE INTRODUCTION OF UNNECESSARY AND PREJUDICIAL PHOTOGRAPHS OF
THE DECEASED VIOLATED DOYLE HAMM'S RIGHTS UNDER THE SIXTH, EIGHTH
AND FOURTEENTH AMENDMENTS.

       211. At Doyle Hamm's trial, the state introduced gruesome,

manipulated, prejudicial and unnecessary photographs of the victim

that inflamed the jurors and denied Mr. Hamm a fair trial.

       212. The state introduced a gruesome and unnecessary closeup

of the victim's head that had been deliberately turned over to face

the camera.

       213. The state also introduced post-autopsy close-ups of the

entry and exit wounds to- the head of the victim.

       214. The prosecutor admitted in closing argument that these

photographs were bloody and gorey and would inflame the jurors.

       215.   The   state's    introduction     of   these   gruesome      and

unnecessary photographs denied Doyle Hamm his rights guaranteed by

the Sixth, Eighth and Fourteenth Amendments. The state court

adjudication of this claim resulted in a decision that was contrary

to,    and    involved   an   unreasonable     application    of,    clearly

established United States Supreme Court precedent.
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S.   THE TRIAL COURT ERRED IN FAILING TO QUALIFY THE EXPERT
WITNESSES, IN VIOLATION OF THE UNITED STATES CONSTITUTION.

      216. Three witnesses gave expert opinion testimony at the

trial of Doyle Hamm, namely Carol Curlee (fingerprint evidence) ,

Brent Wheeler (ballistic evidence), and Joseph Embry (pathological

evidence) .

      217. None of these witnesses were ever qualified by the judge

as experts in their field.

      218. The court's failure to qualify these three experts, even

though they gave expert opinion testimony, denied Doyle Hamm his

rights guaranteed by the Sixth, Eighth and Fourteenth Amendments to

the United States Constitution. The state court adjudication of

this claim resulted in a decision that was contrary to, and

involved an unreasonable application of, clearly established United

States Supreme Court precedent.



T. THE TRIAL COURT'S FAILURE TO CHANGE THE VENUE OF THE TRIAL
DENIED PETITIONER A F A I R T R I A L AND AN IMPARTIAL AND INDIVIDUALIZED
SENTENCING HEARING IN VIOLATION OF THE F I F T H , SIXTH, EIGHTH AND
FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION

      219. According to the Cullman Times, Doyle Hamm's sentence of

death was "the first capital murder conviction in the history of

Cullman County." Supreme Court Denies Hamm Sentence Appeal, Cullman

Times, page 1, December 4, 1990. Based on petitioner's independent

research, Cullman County's first and only legal hanging for a crime

took place on September 25, 1914, when George James was executed
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for the murder of Enoch Claiburne.      Margaret Jean Jones, Cullman

County Across The Years, page 38.

    220. As a result, Doyle Hamm's capital indictment and trial

received a tremendous amount of pre-trial and trial publicity.

     221.   Numerous jurors indicated in voir dire that they had

heard or read about the circumstances of the crime and about Doyle

Hamm.    R-39-220.

     222. Doyle Hamm moved pre-trial for a change of venue.

     223. The trial court did not receive any evidence on the

motion, but nevertheless denied the motion for change of venue.

     224. It was incumbent upon the trial court in this case to

order a change of venue because petitioner could not reasonably

expect to receive a fair trial in a community that had been domi-

nated by so much pretrial publicity and where it was generally

known that Petitioner was accused of another murder in the neigh-

boring State of Mississippi.

        225. The trial court's failure to change the venue of trial

denied petitioner his rights guaranteed by the Fifth, Sixth, Eighth

and Fourteenth Amendments to the United States Constitution. The

state court adjudication of this claim resulted in a decision that

was contrary to, and involved an unreasonable application of,

clearly established United States Supreme Court precedent.
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U.   SENTENCING DOYLE HAMM TO DIE IN THE ELECTRIC CHAIR OR BY
LETHAL INJECTION IS CRUEL AND UNUSUAL PUNISHMENT PROHIBITED BY THE
UNITED STATES CONSTITUTION.

     226. Mr. Hamm was      sentenced to die by       electrocution in

Alabama's    electric   chair, a method    that violates the Eighth

Amendment. The most      recent   inmates executed     in Alabama have

suffered death by lethal injection. This too violates the Eighth

Amendment.

     227. Alabama's lethal injection execution procedure, which is

similar to the procedure typically used by lethal injection states,

proscribes the sequential administration of sodium thiopental for

anaesthesia, pancuronium bromide or Pavulon to induce paralysis,

and potassium chloride to cause death.          There is considerable

evidence demonstrating that the lethal injection protocols used in

Alabama will cause Mr. Hamm to consciously suffer an excruciatingly

painful and protracted death.

     228. In determining whether a punishment is cruel and unusual

and therefore prohibited by the Eighth Amendment, the United States

Supreme Court has required an inquiry into the evolving standards

of decency.    See, e.g., Hudson v. McMillian, 503 U.S. 1, 8 (1992).

 The Court has held punishments to be violative of the Eighth

Amendment based, in part, on evidence of a legislative consensus

rejecting the type of punishment at issue.         See, e.g., Roper v.

Simmons, 125 S.Ct. 1183 (2005); Atkins v. Virginia, 536 U.S. 304

(2002). The    unmistakable trend over the past         two decades of
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condemning the use of neuromuscular blocking agents, such as

pancuronium bromide, in euthanizing pets is clear evidence that the

practice violates the Eighth Amendment ban on cruel and unusual

punishment.    These recent alterations of euthanasia protocols for

animals underscore the inhumanity of the chemicals currently used

in Alabama.    It is thus clear that Alabama's present use of lethal

injection is inconsistent with society's evolving standards of

decency.

     229. If Mr. Hamm         is executed by electrocution or lethal

injection,     his    death    likely       will    involve    unnecessary     and

excruciating pain.       The Eighth Amendment cannot be construed to

uphold   the   kind    of     error   and    pain    that     has   attended   the

electrocution and lethal injection protocol used in Alabama.                   This

Court should grant habeas corpus relief on this issue.

     230. A sentence of death by electrocution or lethal injection

violates the prohibition against cruel and unusual punishment, in

violation of the Eighth and Fourteenth Amendments to the Unites

States Constitution. The state court adjudication of this claim

resulted in a decision that was contrary to, and involved an

unreasonable application of, clearly established United States

Supreme Court precedent.
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V.   THE TRIAL COURT FAILED TO FIND AS A MITIGATING CIRCUMSTANCE
THAT DOYLE HAMM SUFFERS FROM MENTAL ILLNESS, IN VIOLATION OF
PETITIONER'S RIGHTS GUARANTEED BY THE FIFTH, SIXTH, EIGHTH AM3
FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION

     231. Doyle Hamm suffers from mental disorders that caused him

extreme mental and emotional disturbance and impaired his ability

to appreciate the criminality of his conduct and to conform his

conduct to the requirements of the law.

     232. The trial court nevertheless did not found either of the

two mental health mitigating circumstances listed in the Death

Penalty statute at §l3A-5-51(2) and     (6),   Code of Alabama (1975)

     233.    The trial court also did not        find a non-statutory

mitigating    circumstance corresponding to       Doyle   Hammts mental

illness.

     234. The court's failure to find as a mitigating circumstance

Doyle Harnm's mental illness denied Petitioner his rights guaranteed

by the Fifth, Sixth, Eighth and Fourteenth Amendments to the United

States Constitution. Magwood v. Smith, 791 F.2d 1438, 1449 (11th

Cir. 1986)     (trial court's refusal     to   find   that   offense was

committed under extreme mental disturbance or that defendant could

not conform behavior to law entitled petitioner to a new sentencing

hearing). The state court adjudication of this claim resulted in a

decision that was contrary to, and involved an unreasonable

application of, clearly established United States Supreme Court

precedent.
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W. THE TRIAL COURT'S FAILURE TO SUPPRESS DOYLE HAMM'S STATEMENT AND
THE EVIDENCE SEIZED AT THE TRAILER VIOLATED STATE LAW AND DENIED
PETITIONER HIS RIGHTS GUARANTEED BY THE FOURTH. FIFTH. SIXTH,
EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION

      235.   Doyle Hamm was arrested and taken into custody on the

authority of a fugitive warrant which was issued without probable

cause

      2 3 6 . The   fugitive warrant was invalid on its face for failure

to comply with the requirements of Code of Alabama (1975), S 1 5 - 9 -



      237. The fugitive warrant was also executed in violation of

Code of Alabama (1975): S 1 5 - 9 - 4 2 .

        238. As a result, Doyle Hammls statement was the fruit of an

illegal arrest and should have been excluded.

      239. Upon arrest, Doyle Hamm requested the assistance of

counsel and the assistance of a doctor; Mr. Hamm was never provided

with counsel before being subjected to interrogation.

      240. Doyle Hamm was interrogated under coercive circumstances.

 He was arrested by two SWAT teams of police officers, beaten and

threatened, taken to the hospital after the interrogation and

overheard police officers threatening his life.

      241. The only information connecting Doyle Hamm to the trailer

that was searched and where evidence was seized came solely from

Douglas Roden, a suspect in this capital murder and therefore not a

reliable informant.
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    242. The search warrant permitted a general exploratory

search.

     243.    The trial court's failure to suppress Doyle Hamm's

statement and t.he evidence seized at the trailer denied Petitioner

his rights guaranteed by the Fourth, Fifth, Sixth, Eighth and

Fourteenth Amendments to the United States Constitution. The state

court adjudication of this claim resulted in a decision that was

contrary to, and involved an unreasonable application of, clearly

established United States Supreme Court precedent.



X.   THE STATE COURT FAILED TO MAKE A FULL RECORD OF THE
PROCEEDINGS IN STATE POST-CONVICTION IN VIOLATION OF MR. HAMM'S
RIGHT TO DUE PROCESS.

     244. Doyle Hamm filed a motion to supplement the record of the

Rule 32 proceedings with the transcript of a pre-trial hearing on
March 6, 1995.       The trial court subsequently entered an order

finding that the transcript of the March 6, 1995 pre-trial hearing

had been lost and could not be produced.         The pre-trial hearing

that occurred on March 5, 1995, is crucial to these proceedings,

and to a full and fair review in federal habeas corpus.           At that

March 5, 1995, hearing, the parties argued about several issues,

including issues of procedural default - crucial arguments that go

to the heart of this federal habeas petition.          Based in part on

those arguments, the lower court entered a mysterious order dated

January     29,   1996, dismissing   all   claims   except   ineffective

assistance of counsel - a mysterious order that was not docketed
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and that was not sent to the parties.         In addition, the transcript

of the March 5, 1995, hearing is crucial to Mr. Hamm's claim

concerning the improper disbarment of Mr. Harcourt.

     245. It is absolutely essential that capital sentences be

reviewed on a complete record.          -
                                        See Dobbs v. Zant,   506 U.S. 357,

358 (1993); Gardner v. Florida, 430 U.S. 349 (1977) (plurality

opinion) (emphasizing critical nature of complete record in review

of capital cases); Gregg v. Georgia, 428 U.S. 153, 167 (1976)

(joint opinion of Stewart, Powell and Stevens, JJ.) (transmittal on

appeal   of   complete   record        is   important   safeguard   against

arbitrariness and     caprice).        In a capital     case, the Eighth

Amendment requires that exacting standards be met to insure that it

is fair, and that the determinations made are             reliable.    "The

fundamental respect for humanity underlying the Eighth Amendment's

prohibition against cruel and unusual punishment gives rise to a

special 'need for reliability in the determination that death is

the appropriate punishment in any capital case.'" Johnson v.

Mississippi, 486 U.S. 578, 584 (1988) (quoting Gardner v. Florida,

430 u.S. 349, 363    (1977) )   .   The state court adjudication of this

claim resulted in a decision that was contrary to, and involved an

unreasonable application of, clearly established United States

Supreme Court precedent.
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IV.   PRAYER FOR RELIEF

      246. For all of     the above stated reasons and other such

reasons as may be made upon amendment of this petition and a full

evidentiary    hearing,   Doyle   Lee    Hamm   respectfully    asks   this

Honorable Court to grant him the following relief:

      (a) Grant petitioner's accompanying motion to proceed in this

matter in forrna pauperis;

      (b)     Afford   petitioner an opportunity       to reply to any
responsive pleading filed by respondent;

      (c)    Grant petitioner discovery under Rule 6 of the Rules

Governing Habeas Corpus Cases and a sufficient period of time to

conduct discovery, and further grant petitioner authority to obtain

subpoenas to further document and prove the facts set forth in this

petition;

      (d) Grant     petitioner    an    evidentiary   hearing    at    which

additional proof may be offered supporting the allegations set

forth in this petition;

      (e)   Permit petitioner after additional factual development an

opportunity to brief and argue the issues presented in this

petition;

      (f) Issue a writ of habeas corpus granting Mr. Hamm relief

from his unconstitutionally obtained conviction and sentence of

death; and
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 (g) Grant such further and other relief as may be appropriate.

                                   Respectfully submitted,



                                   Bernard E. ~arcourt'               1
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                                   Chicago, IL 6 0 6 3 7
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                                   Counsel for Mr. Hamm
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                      ATTORNEY'S VERIFICATION

I affirm under penalty of perjury that, upon information and
belief, this Petition for Writ of Habeas Corpus is true and

correct.   Executed on          15~ 0 6

Bernard E. ~arcourb
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                         CERTIFICATE OF SERVICE

I certify that on        hLS(5,-            , a copy of the attached
document was served by f i = +               on:

Troy King
Office of the Attorney General
Alabama State House
11 South Union Street
              Lz3    lLA
                    6,




Bernard E. Harcourt
